OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 5:01CR05-08-V
                  HECTOR ALEXIS ROSADO
                                                                       )   USM No: 16576-058
Date of Previous Judgment: April 16, 2002                              )   Keith M. Stroud
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33               Amended Offense Level:                                         31
Criminal History Category: V                Criminal History Category:                                     V
Previous Guideline Range: 240 to 262 months Amended Guideline Range:                                       240       to 240   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   No reduction. While a Motion for Downward Departure under USSG §5K1.1 and 18 U.S.C. §
                     3553(e) was granted by the Court at sentencing, there is no change in the guideline range since the
                     Notice under 21 U.S.C. § 851 enhancing the statutory minimum sentence to a mandatory term of
                     240 month imprisonment was not withdrawn, restricting the revised guideline range to 240 months,
                     per USSG § 5G1.1(b).
III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated April 16, 2002                     shall remain in effect.
IT IS SO ORDERED.

Order Date:        February 8, 2011


Effective Date: February 8, 2011
                     (if different from order date)



                  Case 5:01-cr-00005-KDB                    Document 910            Filed 02/08/11      Page 1 of 1
